               Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 1 of 47




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 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9   PRESTON WILSON, an individual,                       NO.
10                    Plaintiff,
                                                          NOTICE OF REMOVAL BY
11            v.                                          DEFENDANTS
12
     GERARDO PONCE and JANE/JOHN DOE
                                                          (KING COUNTY SUPERIOR COURT
13   PONCE, individually and as a marital                 CAUSE NO. 21-2-02771-3SEA)
     community; and PENSKE TRUCK LEASING
14   CO., LP., OF WASHINGTON, a foreign
     limited partnership,
15                                                        CLERK’S ACTION REQUIRED
                      Defendants.
16

17
     TO:      CLERK OF THE COURT;
18
     AND TO: PLAINTIFF PRESTON WILSON;
19
     AND TO: J.D. SMITH, AND LAW OFFICE OF J.D. SMITH, PLLC,
20           COUNSEL FOR PLAINTIFF

21            Pursuant to the provisions of 28 U.S.C. § 1441(a) and (b), 28 U.S.C. § 1446, and 28

22   U.S.C. § 1332, Defendants hereby remove the above-captioned case from the Superior Court of

23   King County, Washington, where it is currently pending, to the United States District Court for

24   the Western District of Washington at Seattle.

25

      NOTICE OF REMOVAL BY DEFENDANTS - 1                              Williams, Kastner & Gibbs PLLC
                                                                       601 Union Street, Suite 4100
                                                                       Seattle, WA 98101-2380
                                                                       (206) 628-6600

      7358437.2
     (USDC Case No.          )
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 1                                     I. STATEMENT OF FACTS

 2   A.       Underlying Incident

 3            Plaintiff Preston Wilson (“Plaintiff”) alleges that he was injured after a motor vehicle

 4   accident with Defendant Gerardo Ponce in Seattle, Washington on October 4, 2019. See

 5   Declaration of Drew Lombardi, attached hereto as Exhibit A (describing/attesting to exhibits);

 6   see also Complaint, attached hereto as Exhibit B at ¶¶ 2.1, 2.3, 2.5.

 7   B.       Relevant Procedural Facts

 8            Plaintiff filed a Complaint in the Superior Court of Washington for King County on

 9   March 1, 2021. See Ex. B. There are no specific allegations or representations pertaining to
10   damages in the Complaint (i.e., no amounts claimed). See Id.

11            On June 3, 2021, Plaintiff served a response to Defendants’ RCW 4.28.360 Request for

12   Statement of Damages indicating damages in excess of $127,000. See Pl.’s Resp. to

13   Defendants’ Request, attached hereto as Exhibit C.

14                                     II. BASIS FOR REMOVAL

15   A.       Removal Is Timely

16            The notice of removal of a civil action or proceeding shall be filed within 30 days after

17   the receipts by the defendant, through service or otherwise, of a copy of the initial pleading

18   setting forth the claim for relief upon which such action or proceeding is based, or within 30

19   days after the service of summons upon the defendant if such initial pleading has then been
20   filed in court and is not required to be served on the defendant, whichever period is shorter. 28

21   U.S.C. § 1446(b)(1). If a case stated by the initial pleading is not removable, a notice of

22   removal may be filed within 30 days after receipt by the defendant, through service or

23   otherwise, of a copy of an amended pleading, motion, order or “other paper” from which it

24   may first be ascertained that the case is one which is, or which has become removable. Id. §

25   1446(b)(3).

      NOTICE OF REMOVAL BY DEFENDANTS - 2                                 Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
                                                                          Seattle, WA 98101-2380
                                                                          (206) 628-6600

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 1            In this matter, the case stated by the initial pleading was not removable (no specific

 2   amounts claimed in Complaint); however, Plaintiff’s response to Defendants’ Request for

 3   Statement of Damages constitutes “other paper” within the meaning of 28 U.S.C. § 1446 from

 4   which it could be ascertained that this case is removable. As this Notice is being filed within

 5   30 days of receipt of that response/“other paper,” this Notice is timely.

 6   B.       This Court Has Original Jurisdiction Over This Matter Under 28 U.S.C. § 1332(a)

 7            The district courts shall have original jurisdiction of all civil actions where the matter in

 8   controversy (1) exceeds the sum or value of $75,000, exclusive of interest and costs, and (2) is

 9   between citizens of different states. 28 U.S.C. § 1332(a)(1). For the purposes of sections 1332
10   and 1441 of Title 28, a corporation shall be deemed to be a citizen of (a) the state in which it

11   has been incorporated, or (b) the state wherein it has its principal place of business. 28 U.S.C.

12   § 1332(c)(1); see also Goodyear Dunlop Tires Ops., S.A. v. Brown, 564 U.S. 915, 924 (2011).

13            1.      The Matter In Controversy Exceeds The Sum Or Value of $75,000

14            Per Plaintiff’s response to Defendants’ Request for Statement of Damages, Plaintiff’s

15   current estimate of his damages exceeds $127,000. See Ex. C.

16            2.      There Is Total Diversity Between The Parties

17            Upon information and belief, Plaintiff is a resident of King County, Washington. See

18   Ex. B. at ¶ 1.1. Thus, Plaintiff is a “citizen of” Washington State. Gerardo Ponce and Jane

19   Doe Ponce are residents of Oklahoma County, Oklahoma. Thus, they are “citizens” of the
20   State of Oklahoma.

21            Penske Truck Leasing Co., L.P., of Washington is (a) incorporated in Delaware, and (b)

22   its principal place of business is in Pennsylvania. Thus, Penske Truck Leasing Co., L.P., of

23   Washington is a “citizen of” either Delaware or Pennsylvania, but not Washington State. For

24   the purposes of LCR 101(f), Penske Truck Leasing Co., L.P., of Washington’s General Partner

25   is PTL GP, LLC. PTL GP, LLC is (a) incorporated in Delaware, and (b) its principal place of

      NOTICE OF REMOVAL BY DEFENDANTS - 3                                   Williams, Kastner & Gibbs PLLC
                                                                            601 Union Street, Suite 4100
                                                                            Seattle, WA 98101-2380
                                                                            (206) 628-6600

      7358437.2
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 1   business is in Pennsylvania. Thus, PTL GP, LLC is a “citizen of” either Delaware or

 2   Pennsylvania, but not Washington State. Based on the foregoing, there is total diversity

 3   between these parties as described in 28 U.S.C. 1332(a)(1).

 4   C.       All Defendants Consent To The Removal

 5            All defendants who have been properly joined and served must consent to the removal

 6   of this action. See 28 U.S.C. § 1446(b)(2)(A). “One defendant’s timely removal notice

 7   containing an averment of the other defendants’ consent and signed by an attorney of record is

 8   sufficient.” Proctor v. Vishay Intertechnology Inc., 584 F.3d 1208, 1224-25 (9th Cir. 2009).

 9   “[T]he filing of a notice of removal can be effective without individual consent documents on
10   behalf of each defendant.” Id. at 1225. Penske Truck Leasing Co., L.P., of Washington,

11   Gerardo Ponce, and Jane Doe Ponce, all share the same attorney of record and consent to the

12   removal of this action.

13                                III. PROCEDURAL COMPLIANCE

14   A.       This Notice Complies With Applicable Local And Federal Rules

15            Pursuant to LCR 101(b), in cases removed from state court, the removing defendant

16   shall file contemporaneously with the notice of removal:

17            (1) A copy of the operative complaint, which must be attached as a separate
                  “attachment” in the electronic filing system and labeled as the
18                “complaint” or “amended complaint.”
19
              (2) A certificate of service which lists all counsel and pro se parties who
20                have appeared in the action with their contact information, including
                  email address.
21
              (3) A copy of any Jury Demand filed in the state court, which must be filed
22                as an attachment and labeled “Jury Demand.”
23   In addition to the foregoing, the removing defendant(s) shall, within 14 days of filing this
24   Notice, or contemporaneously, file with the Clerk of this Court black-on-white copies of all
25

      NOTICE OF REMOVAL BY DEFENDANTS - 4                                Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
                                                                         Seattle, WA 98101-2380
                                                                         (206) 628-6600

      7358437.2
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 1   additional records and proceedings in the state court, together with verification that they are

 2   true and complete copies. LCR 101(c).

 3            In accordance with the above rules, true and complete copies of the following are

 4   attached hereto:

 5            1.      Complaint (Ex. B), which is included as a separate attachment in the electronic

 6   filing system, and labeled as the “Complaint”;

 7            2.      Certificate of Service on Page 7 below; and

 8            3.      True and correct copies of all additional records and proceedings filed in the

 9   state court proceeding being removed by virtue of this petition, attached hereto as Exhibit D.
10   See also Ex. A (attesting to and declaring truth and completeness of these filings in accordance

11   with LCR 101(c)).

12            These documents/exhibits constitute and contain the entirety of the records and

13   proceedings filed in King County Superior Court as of the date of filing this Notice.

14   B.       This Notice Is Properly Filed In This Court, And The King County Superior
              Court Is On Notice Of These Proceedings
15
              This Notice is properly filed in the United States District Court for the Western District
16
     of Washington because this Court embraces King County, the county in which the state court
17
     action is now pending. See 28 U.S.C. §§ 128(b) and 1441(a).
18
              Pursuant to 28 U.S.C. § 1446(d), Defendants are filing a copy of this Notice with the
19
     Clerk of the King County Superior Court and are also serving a copy of this Notice on counsel
20
     of record in the state court action.
21
                                            IV. CONCLUSION
22
              Defendants hereby remove this matter from the King County Superior Court to the
23
     United States District Court for the Western District of Washington at Seattle pursuant to 28
24
     U.S.C. §§ 1332, 1441, and 1446. By seeking removal, Defendants do not waive any defenses,
25

      NOTICE OF REMOVAL BY DEFENDANTS - 5                                 Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
                                                                          Seattle, WA 98101-2380
                                                                          (206) 628-6600

      7358437.2
     (USDC Case No.         )
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 1   including but not limited to lack of personal jurisdiction, insufficiency of process, or

 2   insufficiency of service of process.

 3            DATED this 23rd day of June, 2021.

 4
                                                     WILLIAMS, KASTNER & GIBBS PLLC
 5
                                                     /s/ Rodney L. Umberger
 6                                                   Rodney L. Umberger, WSBA #24948
 7                                                   /s/ Drew V. Lombardi, WSBA #56997
                                                     Drew. V. Lombardi, WSBA #56997
 8                                                   601 Union Street, Suite 4100
                                                     Seattle, WA 98101-2380
 9                                                   Telephone: (206) 628-6600
                                                     Email: rumberger@williamskastner.com
10                                                            dlombardi@williamskastner.com
11
                                                     Attorneys for Defendants Gerardo Ponce and
12                                                   Jane Doe Ponce, and Penske Truck Leasing Co.,
                                                     L.P. Of Washington
13

14

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      NOTICE OF REMOVAL BY DEFENDANTS - 6                                Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
                                                                         Seattle, WA 98101-2380
                                                                         (206) 628-6600

      7358437.2
     (USDC Case No.        )
               Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 7 of 47




 1                              CERTIFICATE OF FILING AND SERVICE

 2            I hereby certify that on June 23, 2021, I electronically filed the foregoing and all

 3   referenced attachments with the Clerk of the Court using the CM/ECF system which will send

 4   notification of such filing to those registered with CM/ECF.

 5            Further, I hereby certify that on June 23, 2021, I provided the foregoing to following

 6   non-CM/ECF participants via Electronic Mail/Email:

 7
      J.D. Smith, WSBA #28246                                              SENT VIA:
 8    Law Office of J.D. Smith, PLLC
      8015 SE 28th Street, Suite #212                                          E-File/E-Serve
 9                                                                             Regular U.S. Mail
      Mercer Island, WA 98040                                                  Legal Messenger
10    Telephone: (206) 588-8529                                                Email
      Email: JD@JDSmithLaw.com
11
      Attorney for Plaintiff Preston Wilson
12

13                    DATED this 23rd day of June, 2021.

14                                   /s/ Drew V. Lombardi, WSBA #56997
                                     Drew. V. Lombardi, WSBA #56997
15                                   601 Union Street, Suite 4100
                                     Seattle, WA 98101-2380
16                                   Telephone: (206) 628-6600
                                     Email: dlombardi@williamskastner.com
17

18                                   Attorneys for Defendants Gerardo Ponce and Jane Doe Ponce,
                                     and Penske Truck Leasing Co., L.P. Of Washington
19
20

21

22

23

24

25

      NOTICE OF REMOVAL BY DEFENDANTS - 7                                  Williams, Kastner & Gibbs PLLC
                                                                           601 Union Street, Suite 4100
                                                                           Seattle, WA 98101-2380
                                                                           (206) 628-6600

      7358437.2
     (USDC Case No.         )
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9   PRESTON WILSON, an individual,                         NO.
10                   Plaintiff,
                                                            DECLARATION OF DREW V.
11                                                          LOMBARDI IN SUPPORT OF
             v.
                                                            DEFENDANTS’ NOTICE OF
12                                                          REMOVAL
     GERARDO PONCE and JANE/JOHN DOE
13   PONCE, individually and as a marital
     community; and PENSKE TRUCK LEASING                    (KING COUNTY SUPERIOR COURT
14   CO., LP., OF WASHINGTON, a foreign                     CAUSE NO. 21-2-02771-3SEA)
     limited partnership,
15
                     Defendants.
16

17

18           I, Drew V. Lombardi, declare as follows:

19           1.      I am an attorney at the law firm Williams, Kastner & Gibbs PLLC, and I am

20   licensed to practice law in the State of Washington and this Court.

21           2.      I am over the age of eighteen and a U.S. Citizen. I have personal knowledge of

22   the facts referred to in this Declaration and could competently testify to these facts if called

23   upon to do so in a court of law.

24                                                    //
                                                      //
25                                                    //


      DECLARATION OF DREW V. LOMBARDI IN SUPPORT OF                       Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
      DEFENDANTS’ NOTICE OF REMOVAL - 1                                   Seattle, WA 98101-2380
                                                                          (206) 628-6600

     7358597.2


                                         EXHIBIT A - Page 1
                                         to Ntc of Removal
                 Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 9 of 47




 1            3.      Along with Rodney L. Umberger, I represent the Defendants in the above-

 2   captioned lawsuit, and I am making this Declaration in support of Defendants’ Notice of

 3   Removal to this Court.

 4            4.      This Declaration is identifiable as Exhibit A to Defendants’ Notice of Removal.

 5            5.      Attached hereto as Exhibit B (to Defendants’ Notice of Removal) is a true and

 6   complete copy of the operative Complaint1 filed in State Court in this matter.

 7            6.      Attached hereto as Exhibit C (to Defendants’ Notice of Removal) is a true and

 8   complete copy of Plaintiff’s Response to Defendants’ Request for Statement of Damages.

 9            7.      Attached hereto as Exhibit D (to Defendants’ Notice of Removal), in

10   accordance with LCR 101(c), are true and complete copies of all additional records and

11   proceedings filed in the underlying State Court action.

12            I declare under penalty of perjury under the laws of the United States and of the State of

13   Washington that the foregoing is true and correct.

14            DATED this 23rd day of June, 2021.

15
                                                                By: /s/Drew V. Lombardi, WSBA #56997
16                                                              Drew. V. Lombardi, WSBA #56997
                                                                WILLIAMS, KASTNER & GIBBS PLLC
17                                                              601 Union Street, Suite 4100
                                                                Seattle, WA 98101-2380
18                                                              Telephone: (206) 628-6600
19                                                              Email: dlombardi@williamskastner.com

20                                                              Counsel for Defendants Gerardo Ponce, Jane
                                                                Doe Ponce, and Penske Truck Leasing Co.,
21                                                              L.P., of Washington

22

23

24

25
     1
      Please note that Plaintiff did not file a separate Summons when initiating the King County Superior Court case
     but, rather, attached the Summons as the last two pages of the filed Complaint.
         DECLARATION OF DREW V. LOMBARDI IN SUPPORT OF                             Williams, Kastner & Gibbs PLLC
                                                                                   601 Union Street, Suite 4100
         DEFENDANTS’ NOTICE OF REMOVAL - 2                                         Seattle, WA 98101-2380
                                                                                   (206) 628-6600

     7358597.2


                                              EXHIBIT A - Page 2
                                              to Ntc of Removal
          Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 10 of 47




                                               FILED
                                      2021 MAR 01 02:45 PM
                                          KING COUNTY
1                                    SUPERIOR COURT CLERK
                                             E-FILED
2                                    CASE #: 21-2-02771-3 SEA
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6
                            KING COUNTY SUPERIOR COURT
7
                        IN AND FOR THE STATE OF WASHINGTON
8

9
       PRESTON WILSON, an individual,
                                                              NO.
10
                  Plaintiff,                                  COMPLAINT FOR DAMAGES
11        vs.
12
       GERARDO PONCE and JANE/JOHN DOE
13     PONCE, individually and as a marital
       community, and PENSKE TRUCK LEASING
14     CO., LP., OF WASHINGTON, a foreign
15
       limited partnership,

16                Defendants.
17
            COMES NOW the plaintiff, Preston Wilson, an individual, by and through his
18
     attorney, J.D. Smith of Law Office of J.D. Smith, PLLC, and allege as follows:
19

20
                               I.   PARTIES AND JURISDICTION
21
            1.1     Preston Wilson (hereinafter “Plaintiff”) at all relevant times resided in
22
     Newcastle, King County, Washington.
23

24

25

26
                                                                          LAW OFFICEOFJ.D. SMITH,PLLC
      COMPLAINT FOR DAMAGES - 1                                              8015 SE 28TH ST., SUITE 212
                                                                            MERCER ISLAND, WA. 98040
                                                                                 TEL: (206) 588-8529


                                     Exhibit B - Page 1
                                     to Ntc of Removal
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              1.2    Upon information and belief, Gerardo Ponce (hereinafter “Defendant
1

2    Ponce”) was a resident of Bethany, Oklahoma County, Oklahoma. All acts alleged herein

3    were for and on behalf of the marital community of Gerardo Ponce and Jane/John Doe
4
     Ponce.
5
              1.3    Upon information and belief, Penske Truck Leasing Co., LP., of
6
     Washington (hereinafter “Defendant Penske”) is a foreign limited partnership doing
7

8    business in Washington State.

9             1.4    The collision that is the subject of this Complaint occurred in or near Seattle,
10
     Washington in the County of King. Thus, jurisdiction and venue are proper in this Court.
11
                          II.     ALLEGATIONS COMMON TO ALL CLAIMS
12

13
              2.1    On or about October 4, 2019, Plaintiff was traveling westbound on S.

14   Michigan Street, in the inside lane, just past the 6th Avenue S., intersection, in Seattle,
15   Washington, driving a City of Seattle Public Utility vehicle.
16
              2.2    Defendant Ponce was driving a rented Penske moving truck westbound in
17
     the far outside lane on S. Michigan street, in the lane next to Plaintiff.
18

19            2.3    As both the Plaintiff and Defendant entered the intersection, Defendant Ponce

20   moved into the inside lane to avoid leaving the back end of his vehicle half-way out in the
21
     intersection, failed to stop, and struck the rear of Plaintiff’s vehicle.
22
              2.4    Defendant Penske is the owner of the vehicle leased to Defendant Ponce and
23
     failed to properly train him in driving the rental truck.
24

25

26
                                                                                  LAW OFFICEOFJ.D. SMITH,PLLC
      COMPLAINT FOR DAMAGES - 2                                                     8015 SE 28TH ST., SUITE 212
                                                                                   MERCER ISLAND, WA. 98040
                                                                                        TEL: (206) 588-8529


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                                          to Ntc of Removal
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             2.5     As a result of the collision, Plaintiff suffered injuries to his neck, shoulders, and
1

2    lower back.

3            2.4     Consequently, Plaintiff received and are obligated to pay for medical
4
     treatment that became necessary as a result of this collision. His treatment, pain, and
5
     discomfort continue.
6
                           III.     CAUSE OF ACTION—NEGLIGENCE
7

8            3.1     A person operating a motor vehicle has a duty to use reasonable care and

9    skill so as to avoid foreseeable collisions.
10
             3.2     Defendant Ponce breached his duty of care by failing to operate a motor
11
     vehicle in a reasonably safe manner.
12

13
             3.3.    Defendant Penske failed to adequately train Defendant Ponce on the use of

14   their rental truck.
15           3.3     The Defendants’ breach was the actual and proximate cause of the damages
16
     sustained by the Plaintiff.
17
                                    IV.     NO COMPARATIVE FAULT
18

19           4.1     Plaintiff is without fault of any kind or nature whatsoever and did not

20   contribute to his injuries or damages in any way. Defendants’ are jointly and severally
21
     liable for Plaintiff’s injuries.
22

23

24

25

26
                                                                                 LAW OFFICEOFJ.D. SMITH,PLLC
      COMPLAINT FOR DAMAGES - 3                                                    8015 SE 28TH ST., SUITE 212
                                                                                  MERCER ISLAND, WA. 98040
                                                                                       TEL: (206) 588-8529


                                          Exhibit B - Page 3
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                                           V.      DAMAGES
1

2           5.1    As a direct and proximate result of the collision, Plaintiff suffered personal

3    injuries, which have and will continue to occur for an indefinite time into the future.
4
     Plaintiff suffered mental and emotional distress and incurred economic and non-economic
5
     damages, which have continued and will continue for an indefinite period of time.
6
            5.2    Plaintiff’s injuries required medical treatment.
7

8           5.3    Plaintiff sustained injuries, damages, expenses and losses, including, but not

9    limited to:
10
                   1.      Economic
11
                           a. Medical expenses, both past and future;
12

13
                           b.     Income loss;

14                         c.     Other out-of-pocket expenses; and
15                         d.     Other recoverable economic damages.
16
                   2.      Non-economic
17
                           a.     Past and future pain;
18

19                         b.     Past and future physical suffering;

20                         c.     Past and future mental and emotional suffering;
21
                           d.     Past and future disability;
22
                           e.     Loss of enjoyment of life; and
23
                           f.     Other recoverable non-economic damages.
24

25

26
                                                                             LAW OFFICEOFJ.D. SMITH,PLLC
      COMPLAINT FOR DAMAGES - 4                                                8015 SE 28TH ST., SUITE 212
                                                                              MERCER ISLAND, WA. 98040
                                                                                   TEL: (206) 588-8529


                                      Exhibit B - Page 4
                                      to Ntc of Removal
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                              g.     As a direct and proximate result of the collision, Plaintiff
1

2    suffered personal injuries, which have continued, and will continue to occur for an indefinite

3    time into the future. Plaintiff suffered mental and emotional distress and incurred economic
4
     and non-economic damages, which have continued and will continue for an indefinite period
5
     of time.
6
                                      VI.     PRAYER FOR RELIEF
7

8            WHEREFORE, the Plaintiff prays for a judgment against these Defendants, jointly and

9    severally, as follows:
10
             6.1     Economic damages for Plaintiff in such amounts as are proven at trial.
11
             6.2     Non-Economic damages for Plaintiff in such amounts as are proven at trial.
12

13
             6.3     Costs including reasonable attorney’s fees for Plaintiff as are proven at trial.

14           6.4     For such other and further relief as the court deems just, equitable and
15   proper for Plaintiff as are proven at the time of trial.
16

17
             DATED this 1st day of March, 2021.
18

19

20                                                    _______________________________
                                                      J.D. SMITH, WSBA No. 28246
21
                                                      Attorney for Plaintiff Preston Wilson
22

23

24

25

26
                                                                                LAW OFFICEOFJ.D. SMITH,PLLC
      COMPLAINT FOR DAMAGES - 5                                                    8015 SE 28TH ST., SUITE 212
                                                                                  MERCER ISLAND, WA. 98040
                                                                                       TEL: (206) 588-8529


                                         Exhibit B - Page 5
                                         to Ntc of Removal
          Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 15 of 47




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6                          KING COUNTY SUPERIOR COURT
                       IN AND FOR THE STATE OF WASHINGTON
7

8
       PRESTON WILSON, an individual,
9                                                              NO.
10               Plaintiff,                                    SUMMONS
          vs.
11

12
       GERARDO PONCE and JANE/JOHN DOE
       PONCE, individually and as a marital
13     community, and PENSKE TRUCK LEASING
       CO., LP., OF WASHINGTON, a foreign
14     limited partnership,
15
                 Defendants.
16

17
            TO:               Gerado Ponce and Jane/John Doe Ponce, Defendants;
            AND TO:           Penske Truck Leasing Co., LP., of Washington, Defendants.
18
            Plaintiff Preston Wilson has started a lawsuit against you in the above-entitled
19

20
     Court. Plaintiff’s claims are stated in the Complaint for Damages, copies of which are

21   served upon you with this Summons.
22          In order to defend against this lawsuit, you must respond to the Complaint by stating
23
     your defense in writing, and serve a copy upon the person signing this Summons within 20
24

25

26
                                                                             LAW OFFICEOFJ.D. SMITH,PLLC
      SUMMONS - 1                                                              8015 SE 28TH ST., SUITE 212
                                                                              MERCER ISLAND, WA. 98040
                                                                                   TEL: (206) 588-8529


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     days after the service of this Summons, or within 60 days if this Summons was served
1

2    outside of the State of Washington, excluding the date of service, or a Default Judgment

3    may be entered against you without notice. A Default Judgment is one where Plaintiff is
4
     entitled to what he asks for because you have not responded. If you serve a Notice of
5
     Appearance on the undersigned person, you are entitled to Notice before a Default
6
     Judgment may be entered.
7

8           You may demand that the Plaintiff file this lawsuit with the Court. If you do so,

9    the demand must be in writing, and must be served upon the person signing this Summons.
10
     Within 14 days after you serve the demand, the Plaintiff must file this lawsuit with the
11
     Court, or the service on you of this Summons and Complaint will be void.
12

13
            If you wish to seek the advice of an attorney in this matter, you should do so

14   promptly so that your written response, if any, may be served on time.
15          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules
16
     of the State of Washington.
17

18

19          DATED this 1st day of March, 2021.

20

21
                                          _______________________________
22                                        J.D. SMITH, WSBA No. 28246
                                          Attorney for Plaintiff Preston Wilson
23

24

25

26
                                                                              LAW OFFICEOFJ.D. SMITH,PLLC
      SUMMONS - 2                                                               8015 SE 28TH ST., SUITE 212
                                                                               MERCER ISLAND, WA. 98040
                                                                                    TEL: (206) 588-8529


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1

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6

7                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                              IN AND FOR THE COUNTY OF KING
8

9
      PRESTON WILSON, an individual,                     No. 21-2-02771-3SEA
10
                 Plaintiff,
11       vs.
                                                          PLAINTIFF’S OBJECTION AND
12    GERARDO PONCE and JANE/JOHN DOE                     RESPONSE TO REQUEST FOR
      PONCE, individually and as a marital                STATEMENT OF DAMAGES
13
      community, and PENSKE TRUCK LEASING
14    CO., LP., OF WASHINGTON, a foreign
      limited partnership,
15
                 Defendants.
16

17   TO: GERARDO PONCE and PENSKE TRUCK LEASING CO., LP., OF WASHINGTON,

18   Defendants.
19   AND TO: Rodney L. Umberger and Drew. V. Lombardi, WILLIAMS, KASTNER & GIBBS
20
     PLLC, Attorney for Defendants
21

22                  COME NOW, the Plaintiff herein, by and through his counsel of record, J.D.
23
     Smith, and OBJECTS to the introduction of the following damages statement into evidence on
24
     the grounds that;
25

26

27
       PLAINTIFF’S OBJECTION AND RESPONSE TO                           LAW OFFICE OF J.D. SMITH, PLLC
                                                                        8015 SE 28TH ST., SUITE 212
28     REQUEST FOR STATEMENT OF DAMAGES 1
                                                                        MERCER ISLAND, WA. 98040
                                                                             TEL: (206) 588-8529




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1
       1. RCW 4.28.360 is procedural, not substantive. McNeal v. Allen, 95 Wn.2d 265, 267, 621
2

3         P.2d 1285 (1980). It should not be used as substantive evidence.

4      2. Although relevant, the probative value of this Statement is substantially outweighed by the

5         danger of unfair prejudice, confusion, and its potential to mislead the jury. ER 403. For
6
          example, the value of both special and general damages may change between the time of a
7
          settlement and the date of trial to account for the costs of additional treatment, litigation,
8
          the earning power of funds paid pending trial, the vagaries of trial, etc.
9
       3. The Statement constitutes evidence of offering to accept a valuable consideration to
10

11        compromise a disputed claim or conduct or statements in furtherance of compromise

12        negotiations. ER 408.
13     4. The Statement constitutes a disclosure of the mental impressions, conclusions, and
14
          opinions of an attorney concerning the litigation. CR 26(b)(4).
15
           Without waiving the above objections and pursuant to RCW 4.28.360, plaintiff provides
16
       the following statement setting forth separately the amount of special and general damages.
17

18
     Economic Damages
19
       Medical expense, as of March 1, 2021, are approximately $15,916.00. We have requested a
20
       detailed ledger and upon receipt we will provide a breakdown of the total.
21
       Lost Wages to date are approximately $1,785.00.
22

23     Future Medical Expenses are estimated to likely exceed $10,000.00.
24
       Future Wage Loss is uncertain.
25

26

27
       PLAINTIFF’S OBJECTION AND RESPONSE TO                                LAW OFFICE OF J.D. SMITH, PLLC
                                                                             8015 SE 28TH ST., SUITE 212
28     REQUEST FOR STATEMENT OF DAMAGES 2
                                                                             MERCER ISLAND, WA. 98040
                                                                                  TEL: (206) 588-8529




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1

2
     Non-Economic Damages
3

4        The amount of Plaintiff’s Non-Economic Damages will be determined by a jury. At trial,

5    the Court will instruct the jury that the law has not furnished us with any fixed standards by

6    which to measure general damages. WPI 30.01.01. However, for purposes of this pleading only,
7
     and in the spirit of facilitating good faith settlement discussions and assisting the defendants’
8
     liability insurance carrier in setting appropriate insurance reserves, Plaintiff’s Non-Economic
9
     Damages include claims for disability, loss of enjoyment of life, inconvenience, fear of future
10
     consequences of his injuries, loss of quality of life, emotional distress, and past, present and
11

12   future pain and suffering (mental, psychological and emotional), and disfigurement. For the

13   purpose of answering this Request, and without prejudice to Plaintiffs’ right to change this early,
14   Non-Economic Damage estimation, Plaintiffs currently estimate their combined Non-Economic
15
     Damages to be in excess of One Hundred Thousand Dollars ($100,000.00). This figure is
16
     derived from review of relevant Northwest Jury Verdict awards involving injuries similar to
17
     those sustained by the Plaintiffs in this action. It should be underscored, however, that this is a
18

19   preliminary estimate only. Plaintiff Preston Wilson was permanently impacted by the injuries he

20   sustained as a result of the defendant’s negligence, and as such, Plaintiff will require ongoing

21   medical care and monitoring for the remainder of his life. Plaintiff Preston Wilson has also been
22   informed that because he has suffered the sort of injury which he has as a result of the
23
     defendant’s negligence, he is now more susceptible to suffer the same injury again in his
24
     lifetime, which could cause his further disfigurement, disability, or death. Accordingly, this
25
     estimate may be adjusted based upon, among other things, the opinions and analysis of expert
26

27
       PLAINTIFF’S OBJECTION AND RESPONSE TO                                 LAW OFFICE OF J.D. SMITH, PLLC
                                                                              8015 SE 28TH ST., SUITE 212
28     REQUEST FOR STATEMENT OF DAMAGES 3
                                                                              MERCER ISLAND, WA. 98040
                                                                                   TEL: (206) 588-8529




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1
     witnesses, the total amount of economic damages established at trial and the nature and extent of
2

3    the physical and emotional injuries that have thus far been sustained in this matter.

4
                                   Dated this 2nd day of June, 2021
5

6
                                                   LAW OFFICE OF J.D. SMITH, PLLC
7

8                                                  /s/ J.D. Smith_______________
                                                   J.D. Smith, WSBA #28246
9                                                  Email: JD@JDSmithLaw.com
                                                   Attorneys for Plaintiff Preston Wilson
10

11
                                      CERTIFICATE OF SERVICE
12
             I hereby certify under penalty of perjury under the laws of the State of Washington that on
13   the 3rd day of June, 2021, I caused a true and correct copy of the foregoing document, to be
     delivered to the following counsel of record in the manner noted below:
14

15    Rodney L. Umberger,                                                SENT VIA:
      Drew. V. Lombardi,
16                                                                          E-File/E-Serve
      Brumbaugh, Catherine,
                                                                            Regular U.S. Mail
17    601 Union Street, Suite 4100                                          Legal Messenger
      Seattle, WA 98101-2380                                                Email
18    Telephone: (206) 628-6600
      Email: rumberger@williamskastner.com
19    dlombardi@williamskastner.com
20    cbrumbaugh@williamskastner.com
      Attorneys for Defendants
21

22                  DATED this 3rd day of June, 2021.

23
                                                   LAW OFFICE OF J.D. SMITH, PLLC
24

25                                                 /s/ Jocelyn Gil_____________________
                                                   Jocelyn Gil, Legal Assistant
26

27
       PLAINTIFF’S OBJECTION AND RESPONSE TO                               LAW OFFICE OF J.D. SMITH, PLLC
                                                                             8015 SE 28TH ST., SUITE 212
28     REQUEST FOR STATEMENT OF DAMAGES 4
                                                                             MERCER ISLAND, WA. 98040
                                                                                  TEL: (206) 588-8529




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                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    FOR THE COUNTY OF KING

Wilson                                       N0.21-2-02771-3 SEA

                               Plaintiff(s) I ORDER SETTING CIVIL CASE SCHEDULE
vs
                                             ASSIGNED JUDGE: CHUNG, Dept. 15
PONCE
                                            FILED DATE: 03/01/2021
                            Defenda         TRIAL DATE:02/28/2022

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule on
Page 3 as ordered by the King County Superior Court Presiding Judge.

                                                 I. NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy of this Order Setting Case Schedule
(Schedule) on the Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the
Plaintiff shall serve the Schedu/e on the Defendant(s) within 10 days after the later of: (1) the filing of the
Summons and Complaint/Petition or (2) service of the Defendant's first response to the
Complaint/Petition, whether that response is a Notice of Appearance, a response, or a Civil Rule 12
(CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to be filed promptly
in the form required by Civil Rule 5(CR 5).

NOTICE TO ALL PARTIES:
AII attorneys and parties should make themselves familiar with the King County Local Rules [KCLCR] --
especially those referred to in this Schedule. In order to comply with the Schedule, it will be necessary
for attorneys and parties to pursue their cases vigorously from the day the case is filed. For example,
discovery must be undertaken promptly in order to comply with the deadlines for joining additional parties,
claims, and defenses, for disclosing possible witnesses [See KCLCR 26], and for meeting the discovery
cutoff date [See KCLCR 37(g)].
            You are required to give a copy of these documents to all parties in this case.




                                                                                                                  3
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                                          I. NOTICES (continued)

CROSSCLAIMS, COUNTERCLAIMS AND THIRD PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claims is filed in an existing
case.

KCLCR 4.2(a)(2)
A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the
deadline in the schedule. The court will review the confirmation of joinder document to determine if a
hearing is required. If a Show Cause order is issued, all parties cited in the order must appear before
their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of dismissal of all parties and claims is filed with the Superior
Court Clerk's Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this
Schedule are automatically canceled, including the scheduled Trial Date. It is the responsibility of the
parties to 1) file such dispositive documents within 45 days of the resolution of the case, and 2) strike any
pending motions by notifying the bailiff to the assigned judge.

 Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing
a Notice of Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a
final decree, judgment or order of dismissal of all parties and claims is not filed by 45 days after a Notice
of Settlement, the case may be dismissed with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to
present an Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:
Al/ parties to this actfon must keep the court informed of their addresses. When a Notice of
Appearance/Withdrawal or Notice of Change of Address is filed with the Superior Court Clerk's Office,
parties must provide the assigned judge with a courtesy copy.

ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to
mandatory arbitration and service of the original complaint and all answers to claims, counterclaims and
cross-claims have been filed. If mandatory arbitration is required after the deadline, parties must obtain
an order from the assigned judge transferring the case to arbitration. Any party filing a Statement must
pay a$250 arbitration fee. If a party seeks a trial de novo when an arbitration award is appealed, a fee
of $400 and the request for trial de novo must be filed with the Clerk's Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
AII parties will be assessed a fee authorized by King County Code 4A.630.020 whenever the Superior
Court Clerk must send notice of non-compliance of schedule requirements and/or Local Civil Rule 41.

      King County Local Rules are available for viewing at www.kincicounty.ctov/courts/clerk.




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                                           II. CASE SCHEDULE
*   CASE EVENT                                                                          EVENT DATE
    Case Filed and Schedule Issued.                                                          03/01/2021
*   Last Day for Filing Statement of Arbitrability without a Showing of Good Cause           08/09/2021
    for Late Filing [See KCLMAR 2.1(a) and Nofices on Page 2].
     $220 arbitration fee must be paid
*   DEADLINE to file Confirmation of Joinder if not subject to Arbitration                     08/09/2021
     See KCLCR 4.2 a and Notices on Pa e 2.
    DEADLINE for Hearing Motions to Change Case Assignment Area [KCLCR                         08/23/2021
    82(e)].
    DEADLINE for Disclosure of Possible Primary Witnesses See KCLCR 26 k.                      09/27/2021
    DEADLINE for Disclosure of Possible Additional Witnesses See KCLCR 26 k.                   11/08/2021
    DEADLINE for Jury Demand See KCLCR 38(b)(2)].                                              11/22/2021
    DEADLINE for a Chan e in Trial Date See KCLCR 40(e)(2)].                                   11/22/2021
    DEADLINE for Discovery Cutoff [See KCLCR 37(g)].                                           01/10/2022

    DEADLINE for Engaging in Alternative Dis ute Resolution See KCLCR 16 b.                    01/31/2022
    DEADLINE: Exchange Witness & Exhibit Lists & Documentary Exhibits                          02/07/2022
    KCLCR 46)].
*   DEADLINE to file Joint Confirmation of Trial Readiness See KCLCR 16 a 1                    02/07/2022
    DEADLINE for Hearing Dis ositive Pretrial Motions See KCLCR 56; CR 56].                    02/14/2022
*   Joint Statement of Evidence See KCLCR 4 k                                                  02/22/2022
    DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Conclusions of             02/22/2022
    Law and Jury Instructions (Do not file proposed Findings of Fact and
   Conclusions of Law with the Clerk
   Trial Date See KCLCR 401.                                                                    02/28/2022
The * indicates a document that must be filed with the Superior Court Clerk's Office by the date shown.

                                               III. ORDER

Pursuant to King County Local Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply with the
schedule listed above. Penalties, including but not limited to sanctions set forth in Local Rule 4(g) and
Rule 37 of the Superior Court Civil Rules, may be imposed for non-compliance. It is FURTHER
ORDERED that the party filing this action must serve this Order Setting Civil Case Schedule and
attachment on all other parties.


DATED:      03/01/2021
                                                                           ~~~

                                                                           ~     .

                                                                     PRESIDING JUDGE




                                                                                                            3

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                    IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case
schedule. The assigned Superior Court Judge will preside over and manage this case for all pretrial matters.

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned
court as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local Civil
Rules 4 through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil
rules can be found at www.kingcounty.gov/courts/clerk/ruies/Civil.

CASE SCHEDULE AND REQUIREMENTS: Deadlines are set by the case schedule, issued pursuant to
Local Civil Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IMPOSED BY THE COURT'S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the
assigned judge) a joint confirmation report setting forth whether a jury demand has been filed, the expected
duration of the trial, whether a settlement conference has been held, and special problems and needs (e.g.,
interpreters, equipment).

The Joint Confirmation Regarding Trial Readiness form is available at www.kingcounty_gov/courts/scforms.
If parties wish to request a CR 16 conference, they must contact the assigned court. Plaintiffs/petitioner's
counsel is responsible for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintifrs/petitioner's written demand, counsel for
defendant/respondent shall respond (with a counter ofFer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY RESULT
IN SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the
court. The Friday before trial, the parties should access the court's civil standby calendar on the King County
Superior Court website www.kingcounty.gov/courts/superiorcourt to confirm the trial judge assignment.

MOTIONS PROCEDURES

A. Noting of Motions

Dispositive Motions: AII summary judgment or other dispositive motions will be heard with oral argument
before the assigned judge. The moving party must arrange with the hearing judge a date and time for the
hearing, consistent with the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern procedures for
summary judgment or other motions that dispose of the case in whole or in part. The local civil rules can be
found at www.kingcounty.gov/courts/clerk/rules/Civil.

Non-dispositive Motions: These motions, which include discovery motions, will be ruled on by the
assigned judge without oral argument, unless otherwise ordered. AII such motions must be noted for a date
by which the ruling is requested; this date must likewise conform to the applicable notice requirements.
Rather than noting a time of day, the Note for Motion should state "Without Oral Argument." Local Civil Rule


                                                                                                                    3

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7 governs these motions, which include discovery motions. The local civil rules can be found at
www.kincicounty.gov/cour-ts/clerk/ruies/Civil.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine,
motions relating to trial dates and motions to vacate judgments/dismissals shall be brought before the
assigned judge. AII other motions should be noted and heard on the Family Law Motions calendar. Local
Civil Rule 7 and King County Family Law Local Rules govern these procedures. The local rules can be
found at www.kingcounty.pov/courts/clerk/rules.

Emergency Motions: Under the court's local civil rules, emergency motions will usually be allowed only
upon entry of an Order Shortening Time. However, some emergency motions may be brought in the Ex
Parte and Probate Department as expressly authorized by local rule. In addition, discovery disputes may be
addressed by telephone call and without written motion, if the judge approves in advance.

B. Original Documents/Working Copies/ Filing of Documents: AII original documents must be filed
with the Clerk's Office. Please see information on the Clerk's Office website at
www.kingcounty.gov/courts/clerk regarding the requirement outlined in LGR 30 that attorneys must e-file
documents in King County Superior Court. The exceptions to the e-filing requirement are also available on
the Clerk's Office website. The local rules can be found at www.kingcounty.gov/courts/clerk/ruies.

The working copies of all documents in support or opposition must be marked on the upper right corner of
the first page with the date of consideration or hearing and the name of the assigned judge. The assigned
judge's working copies must be delivered to his/her courtroom or the Judges' mailroom. Working copies of
motions to be heard on the Family Law Motions Calendar should be filed with the Family Law Motions
Coordinator. Working copies can be submitted through the Clerk's office E-Filing application at
www.kinqcounly.gov/courts/clerk/documents/eWC.

Service of documents: Pursuant to Local General Rule 30(b)(4)(B), e-filed documents shall be
electronically served through the e-Service feature within the Clerk's eFiling application. Pre-registration to
accept e-service is required. E-Service generates a record of service document that can be e-filed. Please
see the Clerk's office website at www.kingcounty.gov/courts/clerk/documents/efilinq regarding E-Service.

Original Proposed Order: Each of the parties must include an original proposed order granting requested
relief with the working copy materials submitted on any motion. Do not file the original of the proposed
order with the Clerk of the Court. Should any party desire a copy of the order as signed and filed by the
judge, a pre-addressed, stamped envelope shall accompany the proposed order. The court may distribute
orders electronically. Review the judge's website for information:
www.kinqcounty.gov/courts/SuperiorCourt/'udges.

Presentation of Orders for Signature: AII orders must be presented to the assigned judge or to the Ex
Parte and Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented
to the Ex Parte and Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) of record. E-filing is not required for self-represented parties (non-attorneys). If
the assigned judge is absent, contact the assigned court for further instructions. If another judge enters an
order on the case, counsel is responsible for providing the assigned judge with a copy.

Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented
to the Ex Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte
via the Clerk application by the attorney(s) of record. E-filing is not required for self-represented parties (non-
attorneys). Formal proof in Family Law cases must be scheduled before the assigned judge by contacting
the bailiff, or formal proof may be entered in the Ex Parte Department. If final order and/or formal proof
are entered in the Ex Parte and Probate Department, counsel is responsible for providing the
assigned judge with a copy.

C. Form
Pursuant to Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200
words and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count


                                                                                                                  3

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includes all portions of the document, including headings and footnotes, except 1) the caption; 2) table of
contents and/or authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions
supported by such memoranda/briefs may be stricken.

IT IS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT
IN DISMISSAL OR OTHER SANCTIONS. PLA/NTIFF/PEITITONER SHALL FORWARD A COPY OF TH/S
ORDER AS SOON AS PRACT/CABLE TO ANY PARTY WHO HAS NOT RECEIVED THIS ORDER.


                                                                             ;
                                                                                 ~. . ..



                                                                     PRESIDING JUDGE




                                                                                                              3

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                                               FILED
                                      2021 MAR 01 02:45 PM
                                          KING COUNTY
                                     SUPERIOR COURT CLERK
                                             E-FILED
                                     CASE #: 21-2-02771-3 SEA




                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                              FOR THE COUNTY OF KING

Wilson                                            No. 21-2-02771-3 SEA

                                                  CASE INFORMATION COVER SHEET AND
vs                                                AREA DESIGNATION

                                                  (CICS)
Ponce

                                       CAUSE OF ACTION

                                    TMV - Tort /Motor Vehicle

                                    AREA OF DESIGNATION

SEA            Defined as all King County north of Interstate 90 and including all of Interstate 90
               right of way, all of the cities of Seattle, Mercer Island, Issaquah, and North Bend, and
               all of Vashon and Maury Islands.




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                             FILED
                      2021 MAR 08 09:00 AM
                          KING COUNTY
                     SUPERIOR COURT CLERK
                             E-FILED
                     CASE #: 21-2-02771-3 SEA




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 1   Honorable Samuel Chung
     Trial Date: February 28, 2022
 2

 3

 4

 5

 6

 7

 8                    SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 9   PRESTON WILSON, an individual,                        NO. 21-2-02771-3SEA
10                    Plaintiff,                           DEFENDANTS’ NOTICE OF
                                                           APPEARANCE
11
             v.
12
     GERARDO PONCE and JANE/JOHN DOE
13   PONCE, individually and as a marital
     community; and PENSKE TRUCK LEASING
14   CO., LP., OF WASHINGTON, a foreign
     limited partnership,
15
                      Defendants.
16

17
     TO:              CLERK OF THE COURT
18   AND TO:          J.D. Smith, and Law Office of J.D. Smith, PLLC, Counsel for Plaintiff

19           PLEASE TAKE NOTICE that Defendants Gerardo Ponce, “Jane Doe” Ponce; and
20   Penske Truck Leasing Co., L.P. of Washington (“Defendants”) hereby make their appearance in
21   the above-captioned proceeding by and through the undersigned attorneys.
22           This appearance is without waiver of any defenses, including, but not limited to,
23   insufficient service of process and lack of personal jurisdiction. All further papers and pleadings,
24   except process, in this cause may be served upon said Defendants by delivering a copy thereof
25   to the undersigned attorneys at the address below. Service upon another law firm office and


      DEFENDANTS’ NOTICE OF APPEARANCE - 1                                Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
                                                                          Seattle, WA 98101-2380
                                                                          (206) 628-6600

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                 Case 2:21-cv-00849-JCC Document 1 Filed 06/24/21 Page 34 of 47




 1   service without express direction to deliver to Rodney L. Umberger and/or Drew V. Lombardi

 2   will not be deemed valid.

 3           DATED this 17th day of March, 2021.

 4
                                                WILLIAMS, KASTNER & GIBBS PLLC
 5

 6                                              /s/ Rodney L. Umberger, WSBA #24948
 7                                              /s/ Drew. V. Lombardi, WSBA #56997
                                                Rodney L. Umberger, WSBA #24948
 8                                              Drew. V. Lombardi, WSBA #56997
                                                601 Union Street, Suite 4100
 9                                              Seattle, WA 98101-2380
                                                Telephone: (206) 628-6600
10                                              Email: rumberger@williamskastner.com
11                                              dlombardi@williamskastner.com

12                                              Attorneys for Defendants Gerardo Ponce and
                                                “Jane Doe” Ponce, and Penske Truck Leasing
13                                              Co., L.P. Of Washington
14

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 2            I hereby certify that on the 17th day of March, 2021, I electronically filed the foregoing

 3   with the Clerk of the Court using the King County E-Filing system.

 4            Further, I hereby certify under penalty of perjury under the laws of the State of

 5   Washington that on the 17th day of March, 2021, I caused a true and correct copy of the

 6   foregoing document, to be delivered to the following counsel of record in the manner noted

 7   below:

 8    J.D. Smith, WSBA #28246                                             SENT VIA:
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10    Mercer Island, WA 98040                                                Legal Messenger
      Telephone: (206) 588-8529                                              Email
11    Email: JD@JDSmithLaw.com

12    Attorneys for Plaintiff Preston Wilson
13
                      DATED this 17th day of March, 2021.
14
                                            /s/ Dena S. Levitin, Legal Assistant
15                                          Dena S. Levitin, Legal Assistant
                                            on behalf of Drew V. Lombardi
16                                          and Rodney L. Umberger

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                                                                        ANO                                Respondent/Defendant


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 1   Honorable Samuel Chung
     Trial Date: February 28, 2022
 2

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 8                    SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 9   PRESTON WILSON, an individual,                        NO. 21-2-02771-3SEA
10                    Plaintiff,                           ANSWER OF DEFENDANTS GERARDO
                                                           PONCE AND “JANE DOE” PONCE, AND
11                                                         PENSKE TRUCK LEASING CO., L.P., OF
             v.
                                                           WASHINGTON TO PLAINTIFF’S
12                                                         COMPLAINT FOR DAMAGES
     GERARDO PONCE and JANE/JOHN DOE
13   PONCE, individually and as a marital
     community; and PENSKE TRUCK LEASING
14   CO., LP., OF WASHINGTON, a foreign
     limited partnership,
15
                      Defendants.
16

17
             Defendants Gerardo Ponce; “Jane Doe” Ponce; and Penske Truck Leasing Co., L.P., of
18
     Washington (collectively, “Defendants”), by and through their attorneys, Williams, Kastner &
19
     Gibbs PLLC, answer Plaintiff’s Complaint for Damages (“Complaint”) as follows:
20
             1.       In response to the allegations contained in paragraph 1.1 of the Complaint,
21
     Defendants state that the phrase “at all relevant times” is vague and unclear as to time, location,
22
     and context, and therefore Defendants deny the allegations in paragraph 1.1. To the extent a
23
     further response is required, Defendants are without knowledge or information sufficient to
24
     form a belief as to the truth of those allegations and therefore deny the same.
25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                  Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
      PONCE, AND PENSKE TRUCK LEASING CO., L.P., OF WASHINGTON           Seattle, WA 98101-2380
      TO PLAINTIFF’S COMPLAINT FOR DAMAGES - 1                           (206) 628-6600

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 1            2.      In response to the allegations contained in paragraph 1.2 of the Complaint,

 2   Defendants state that the phrase “Gerardo Ponce…was a resident of Bethany, Oklahoma

 3   County, Oklahoma” is vague and confusing with respect to timeframe, and therefore deny the

 4   same. To the extent a further response is required, Defendants state that Mr. Ponce is married

 5   and is a resident of Bethany, Oklahoma.

 6            3.      Defendants admit the allegations contained in paragraph 1.3 of the Complaint.

 7            4.      The allegations contained in paragraph 1.4 of the Complaint are legal

 8   conclusions to which no responsive pleading is required. To the extent a response is required,

 9   Defendants admit that the subject accident occurred in Seattle, in King County. To the extent a

10   further response is required, Defendants deny that jurisdiction and venue are proper in this

11   Court.

12            5.      In response to the allegations contained in paragraph 2.1 of the Complaint,

13   Defendants are without knowledge or information sufficient to form a belief as to the truth of

14   those allegations and therefore deny the same.

15            6.      In response to the allegations contained in paragraph 2.2 of the Complaint,

16   Defendants admit that Mr. Ponce was driving a Penske truck westbound on S. Michigan Street.

17   Defendants are without knowledge or information sufficient to form a belief as to the truth of

18   the remaining allegations in paragraph 2.2 and therefore deny the same.

19            7.      In response to the allegations contained in paragraph 2.3 of the Complaint,
20   Defendants state that Mr. Ponce maneuvered the moving truck to avoid leaving the back end of

21   the truck in the intersection, and that a screw on one of the truck’s steps scratched the rear of

22   Plaintiff’s vehicle.

23            8.      The allegations contained in paragraph 2.4 of the Complaint are legal

24   conclusions to which no responsive pleading is required. To the extent a response is required,

25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                   Williams, Kastner & Gibbs PLLC
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 1   Defendants admit that Penske Truck Leasing Co., L.P., of Washington owned the vehicle

 2   leased to Mr. Ponce. Defendants deny the remaining allegations in paragraph 2.4.

 3           9.       The allegations contained in paragraph 2.5 of the Complaint are legal

 4   conclusions to which no responsive pleading is required. To the extent a response is required,

 5   Defendants deny that Plaintiff Preston Wilson was injured in the subject accident.

 6           10.      The allegations contained in paragraph 2.4 [sic] of the Complaint are legal

 7   conclusions to which no responsive pleading is required. To the extent a response is required,

 8   Defendants are without knowledge or information sufficient to form a belief as to the truth of

 9   the allegations and therefore deny the same.

10           11.      The allegations contained in paragraph 3.1 of the Complaint are legal

11   conclusions to which no responsive pleading is required. To the extent a response is required,

12   Defendants acknowledge that all drivers have a duty to obey the rules of the road pursuant to

13   RCW 46.61 et seq.

14           12.      The allegations contained in paragraph 3.2 of the Complaint are legal

15   conclusions to which no responsive pleading is required. To the extent a response is required,

16   Defendants deny the same.

17           13.      The allegations contained in paragraph 3.3 of the Complaint are legal

18   conclusions to which no responsive pleading is required. To the extent a response is required,

19   Defendants deny the same.
20           14.      The allegations contained in paragraph 3.3 [sic] of the Complaint are legal

21   conclusions to which no responsive pleading is required. To the extent a response is required,

22   Defendants deny the same.

23           15.      The allegations contained in paragraph 4.1 of the Complaint are legal

24   conclusions to which no responsive pleading is required. To the extent a response is required,

25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                  Williams, Kastner & Gibbs PLLC
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      TO PLAINTIFF’S COMPLAINT FOR DAMAGES - 3                           (206) 628-6600

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 1   Defendants acknowledge the doctrine of joint and several liability. Defendants deny the

 2   remaining allegations in paragraph 4.1

 3           16.      The allegations contained in paragraph 5.1 of the Complaint are legal

 4   conclusions to which no responsive pleading is required. To the extent a response is required,

 5   Defendants deny the same.

 6           17.      In response to the allegations contained in paragraph 5.2 of the Complaint,

 7   Defendants deny that Plaintiff Preston Wilson was injured in the subject accident and therefore

 8   that he required medical treatment as a result of the accident.

 9           18.      The allegations contained in paragraph 5.3 (including subparts 5.3.1(a)-(d) –

10   5.3.2(a)-(g)) are legal conclusions to which no responsive pleading is required. To the extent a

11   response is required, Defendants deny the same.

12           19.      Defendants deny each and every one of Plaintiff’s prayers for relief.

13                                     AFFIRMATIVE DEFENSES

14           By way of further answer, and as affirmative defenses to Plaintiff’s Complaint,

15   Defendants allege as follows:

16           1.       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

17           2.       Plaintiff’s damages were caused by Plaintiff’s own negligence.

18           3.       Plaintiff may have failed to mitigate his alleged damages.

19           4.       Plaintiff’s claims may be barred by the statute of limitations, statute of repose,
20   or are otherwise untimely.

21           5.       Entities and/or persons other than Defendants may be responsible for damages

22   claimed in this case by Plaintiff. In that event, fault should be allocated to these other entities

23   and/or persons pursuant to RCW 4.22 et seq. These potentially at-fault entities or persons are

24   the Plaintiff and/or others unknown and unnamed and over whom Defendants had no control.

25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                    Williams, Kastner & Gibbs PLLC
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 1   Defendants reserve the right to identify additional entities or persons as they become known

 2   through discovery.

 3           6.       The liability of Defendants, if any, was secondary, passive, and subordinate to

 4   the primary, active, and causative negligent acts and/or omissions of other entities, for which

 5   Defendants are not liable and/or are entitled to indemnification from such other entities.

 6           7.       Plaintiff’s damages, if any, were proximately caused by one or more

 7   unforeseeable, independent, intervening, or superseding events beyond Defendants’ control,

 8   and unrelated to any conduct of Defendants. Any actions or omissions of Defendants were

 9   superseded by the negligence and wrongful conduct of others.

10           8.       Plaintiff’s damages were proximately caused by unavoidable accident, and

11   therefore Defendants are not liable for Plaintiff’s damages.

12           9.       Plaintiff’s damages may be the result of their pre-existing bodily injuries and/or

13   conditions.

14           10.      To the extent that any damages that Plaintiff may have sustained have been

15   subject to compensation by collateral sources, any recovery to which Plaintiff might otherwise

16   be entitled must be accordingly barred or reduced thereby.

17           11.      Plaintiff’s Complaint alleges improper venue and/or jurisdiction.

18           12.      To the extent Plaintiff has released, settled, or otherwise compromised his

19   claims, in whole or in part, his claims may be barred by operation of law, or alternatively,
20   subject to reduction by way of set-off.

21           FURTHER ANSWERING PLAINTIFF’S COMPLAINT, Defendants hereby

22   specifically reserve the right to amend this answer by way of adding additional affirmative

23   defenses, counterclaims, or by instituting Third Party Actions, as additional facts are obtained

24   through future investigation and discovery.

25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                   Williams, Kastner & Gibbs PLLC
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 1                                        PRAYER FOR RELIEF

 2           WHEREFORE, having answered Plaintiff’s Complaint and asserted their defenses,

 3   Defendants request the following relief:

 4           a.       That judgment be entered indicating that Plaintiff shall take nothing by way of

 5   this Complaint, and that Plaintiff’s claims be dismissed with prejudice;

 6           b.       That in the event Plaintiff is entitled to any recovery as alleged in the

 7   Complaint, that amount of said recovery will be reduced in accordance with the affirmative

 8   defenses pled herein;

 9           c.       That any recovery to which Plaintiff may be entitled will be allocated or

10   apportioned among parties and nonparties pursuant to Washington law;

11           d.       That Defendants be awarded costs and reasonable attorneys’ fees allowed by

12   law and equity; and

13           e.       That Defendants be awarded such other and further relief as the Court deems

14   just and reasonable.

15           DATED this 23rd day of March, 2021.

16
                                                      WILLIAMS, KASTNER & GIBBS PLLC
17
                                                      /s/ Drew. V. Lombardi, WSBA #56997
18                                                    Rodney L. Umberger, WSBA #24948
19                                                    Drew. V. Lombardi, WSBA #56997
                                                      601 Union Street, Suite 4100
20                                                    Seattle, WA 98101-2380
                                                      Telephone: (206) 628-6600
21                                                    Email: rumberger@williamskastner.com
                                                      dlombardi@williamskastner.com
22

23                                                    Attorneys for Defendants Gerardo Ponce and
                                                      “Jane Doe” Ponce, and Penske Truck Leasing
24                                                    Co., L.P. Of Washington

25


      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                     Williams, Kastner & Gibbs PLLC
                                                                            601 Union Street, Suite 4100
      PONCE, AND PENSKE TRUCK LEASING CO., L.P., OF WASHINGTON              Seattle, WA 98101-2380
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 3   with the Clerk of the Court using the King County E-Filing system.

 4            Further, I hereby certify under penalty of perjury under the laws of the State of

 5   Washington that on the 23rd day of March, 2021, I caused a true and correct copy of the

 6   foregoing document, to be delivered to the following counsel of record in the manner noted

 7   below:

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10    Mercer Island, WA 98040                                                Legal Messenger
      Telephone: (206) 588-8529                                              Email
11    Email: JD@JDSmithLaw.com

12    Attorneys for Plaintiff Preston Wilson
13
                      DATED this 23rd day of March, 2021.
14
                                            /s/ Dena S. Levitin, Legal Assistant
15                                          Dena S. Levitin, Legal Assistant
                                            on behalf of Drew V. Lombardi
16                                          and Rodney L. Umberger

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      ANSWER OF DEFENDANTS GERARDO PONCE AND “JANE DOE”                  Williams, Kastner & Gibbs PLLC
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                            JD Smith                                Attorney for Petitioner/Plaintiff



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